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 5                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WASHINGTON
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 7   UNITED STATES OF AMERICA,                CASE NO.
                                              13-CR-6016-EFS-6
 8                            Plaintiff,
                                              13-CR-6016-EFS-7
 9               v.                           13-CR-6016-EFS-8
                                              13-CR-6016-EFS-9
10   KENNETH ALAN BAIRD (6),
     JAMES MICHAEL HAY (7),
11   PERRY MARK HOWARD (8), and               ORDER ENTERING JUDGMENT OF
     MARK NORRIS JOHNSON (9),                 ACQUITTAL AND DISCHARGING
12                                            PRETRIAL RELEASE CONDITIONS
                              Defendants.
13

14        On October 30, 2014, the jury returned a not-guilty verdict for

15   Defendants Kenneth Alan Baird, James Michael Hay, Perry Mark Howard,

16   and Mark Norris Johnson on Counts 1, 8, 9, and 12, the only counts

17   charged against these Defendants.       Therefore, the Court now enters a

18   judgment of acquittal for these Defendants on all counts.

19        Accordingly, IT IS HEREBY ORDERED:

20        1.     Counts 1, 8, 9, and 12 are DISMISSED as against Defendants

21               Kenneth Alan Baird, James Michael Hay, Perry Mark Howard,

22               and   Mark    Norris   Johnson,    and       these   Defendants   are

23               ACQUITTED.

24        2.     Defendants Kenneth Alan Baird, James Michael Hay, Perry

25               Mark Howard, and Mark Norris Johnson are DISCHARGED from

26               their previously imposed conditions of pretrial release as




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 1                    of October 30, 2014, the date the not-guilty verdict was

 2                    returned.

 3           IT IS SO ORDERED.              The Clerk’s Office is directed to enter this

 4   Order and provide copies to all counsel and to the U.S. Probation

 5   Office.

 6           DATED this         31st       day of October 2014.

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                                        s/Edward F. Shea
 8                                         EDWARD F. SHEA
                                Senior United States District Judge
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